







		NO. 12-09-00141-CV


IN THE COURT OF APPEALS


TWELFTH COURT OF APPEALS DISTRICT


TYLER, TEXAS


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IN RE: PAUL HOPE,§
	ORIGINAL PROCEEDING

RELATOR

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MEMORANDUM OPINION


PER CURIAM


	In this original proceeding, Paul Hope complains of the Texas Department of Public Safety
Crime Records Service and the Texas Department of Criminal Justice Board of Pardons and Paroles.
Specifically, he seeks a writ of mandamus compelling these two agencies to supply and enter correct
data in the computerized criminal history system relating to offenders to reflect the disposition of
his case as set forth in the trial court's judgment of conviction.  

	A court of appeals has the authority to issue writs of mandamus against a judge of a district
or county in the court of appeals district and to issue all writs necessary to protect its jurisdiction. 
Tex. Gov't Code Ann. § 22.221 (Vernon 2004).  Hope's complaint does not fall within this court's
mandamus jurisdiction.  See id.  Accordingly, his petition for writ of mandamus is dismissed for
want of jurisdiction.

Opinion delivered June 17, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

	




(PUBLISH)


